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                                                                   Thursday, 11 July, 2019 10:16:07 PM
                                                                         Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
                vs.                        )      Case No. 17-CR-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
       Defendant.                          )

THE UNITED STATES OF AMERICA’S MOTION IN LIMINE TO PROHIBIT THE
USE OF LEADING QUESTIONS ABSENT A SHOWING OF ACTUAL HOSTILITY

       NOW COMES the United States of America, by John C. Milhiser, United States

Attorney for the Central District of Illinois, Eugene L. Miller and Bryan Freres, Assistant

United States Attorneys, and Department of Justice Trial Attorney James B. Nelson, and

hereby moves the court to require defense counsel to make a showing that the witnesses

it calls are actually hostile before resorting to leading questions. The bases for this

motion follow.

       1.       The defendant has given notice that he will call four clinicians from the

University of Illinois Counseling Center on July 12, 2019, purportedly in support of the

mitigating factors alleging a substandard level of care.

       2.       Defense counsel stated an intent to treat these witnesses as “hostile”

considering that they have not met with defense counsel for preparation purposes. The

mere refusal of a witness to meet with counsel for trial preparation does rise to the level

of hostility.
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         3.     “A ‘hostile’” witness, in the jargon of evidence law, is not an adverse party

but a witness who shows himself or herself so adverse to answering questions,

whatever the source of the antagonism, that leading questions may be used to press the

questions home.” Rodriguez v. Banco Cent. Corp., 990 F.2d 7, 12–13 (1st Cir. 1993) (citing

United States v. Brown, 603 F.2d 1022, 1025–26 (1st Cir.1979)); see also Ellis v. City of

Chicago, 667 F.2d 606, 613 (7th Cir. 1981) (noting that leading questions on direct

examination are improper unless the witness is being evasive or antagonistic).

         4.   Courts have long recognized that “The vice of the leading question lies in its

suggestion of an answer to a witness who, having been called by the party, is presumed

to be inclined to favor the questioner. If counsel were allowed routinely to lead a

witness on direct examination, the evidence elicited would all too often be that of the

lawyer, not of the witness.” United States v. Bryant, 461 F.2d 912, 918 (6th Cir. 1972)

(citing J. Maguire, EVIDENCE-COMMON SENSE AND COMMON LAW 43, 44 (1947)).

         5.   Defense counsel is calling these witnesses in an attempt to prove a contested

issue. The mere fact that they are disinclined to agree with counsel’s interpretation of

the events does not justify allowing counsel to testify from the podium as to the facts at

issue.

         WHEREFORE, the United States respectfully requests that the Court prohibit

defense counsel from utilizing leading questions in their examination of the University

of Illinois Counseling Center clinicians absent a showing of actual hostility.




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Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to counsel of record.



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